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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


FELLOWSHIP FILTERING
TECHNOLOGIES, LLC,

                  Plaintiff,                       Civil Action No. 2:15-cv-896

             v.
                                                   JURY TRIAL DEMANDED
INTERNATIONAL BUSINESS
MACHINES CORPORATION

                      Defendant.


                   ORDER OF VOLUNTARY DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration, the Notice of Voluntary Dismissal With

Prejudice (Dkt. No. 9) of all claims asserted by Plaintiff, Fellowship Filtering Technologies, LLC

(“Fellowship Filtering” or Plaintiff”) against Defendant, International Business Machines
    .
Corporation, in this case. The Court being of the opinion that said Notice of Voluntary Dismissal

should be ENTERED, it is hereby ORDERED ADJUDGED AND DECREED that all claims

asserted in this suit by Plaintiff against Defendant, International Business Machines Corporation,

are hereby dismissed with prejudice.

       It is further ORDERED that all attorney’s fees and costs are to be borne by the party that

incurred them.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 28th day of August, 2015.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
